
717 S.E.2d 739 (2011)
Carroll Douglas SMITH
v.
Melissa Bernard SMITH.
No. 53P09-2.
Supreme Court of North Carolina.
October 6, 2011.
John F. Bloss, Greensboro, for Smith, Carroll Douglas.
*740 K. Edward Greene, Raleigh, for Smith, Melissa Bernard.

ORDER
Upon consideration of the petition filed on the 23rd of August 2011 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th of October 2011."
JACKSON, J. recused.
